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                                    IN THE UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF VIRGINIA
                                             DANVILLE DIVISION
                                  CRIMINAL MINUTES – SENTENCING HEARING

   Case No.: 4:18CR00011-002                                          Date: 8/3/20
    Defendant: Kevin Lamont Trent, custody                         Counsel: Aaron Cook, Jimmy Turk - CJA



   PRESENT:         JUDGE:                     Michael F. Urbanski, CUSDJ
                    TIME IN COURT:             10:11-11:36 1h 25m
                    Deputy Clerk:              Kristin Ayersman
                    Court Reporter:            Judy Webb
                    U. S. Attorney:            Ron Huber, Heather Carlton
                    USPO:                      Mike Terry
                    Case Agent:                none
                    Interpreter:               none

                                                LIST OF WITNESSES
   GOVERNMENT:                                 DEFENDANT:
   1.                                          1. Kevin Lamont Trent Sr.
   2.                                          2.
   3.                                          3.
   4.                                          4.

   PROCEEDINGS:

           Court inquires as to Objection(s) to Presentence Report made by        USA      Deft. – court notes that
           several objections were made and were clarified prior to final PSR being filed, with the exception of two.
           Court asks for positions of parties re offense level, and obstruction enhancement. USA argument. Dft
           counsel responds.
               Court overrules Dft Objection(s).              Court agrees with USA.
           Defendant presents evidence - Kevin Lamont Trent Sr., sworn. Cross. Court addresses witness.
           Argument.
           Court adopts Presentence Report with changes as noted.
           Allocutions.

   SENTENCE IMPOSED AS FOLLOWS:
   CBOP: Ct 1 – 180 months, Ct 2 – 120 months to run concurrent to Ct 1
   PROB: ____
   SR:   Ct 1 – 5 years; Ct 2 – 3 years to run concurrent to Ct 1 months or years - comply w/Standard, Mandatory &
                  Special Conditions.
                  Mandatory drug testing suspended.
   SA:   $200.00 due immediately.
   FINE: $____
   REST: $830.77 J/S with co-dfts and related cases


           Court recommends as follows:
                    That Defendant be designated to a BOP facility closest to his home in Danville that is consistent
                    with his security classification (FCC Petersburg). The defendant requests to be housed with his
                    brother and cousin (co-dfts) – the court will not recommend this, but will note it in the judgment
                    and leave to the discretion of the BOP.



   SPECIAL CONDITIONS OF SUPERVISION (Check applicable conditions):
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            The defendant shall reside in a residence free of firearms, ammunition, destructive devices and dangerous
            weapons.
            Following release from imprisonment, the court will evaluate defendant's status and determine whether,
            after incarceration, drug rehabilitation is necessary and appropriate. If additional rehabilitation is deemed
            appropriate, the defendant shall participate in a program as designated by the court, upon consultation with
            the probation officer, until such time as the defendant has satisfied all the requirements of the program.
            The defendant shall submit his person, property, house, residence, vehicle, papers, or office, to a search
            conducted by a United States probation officer. Failure to submit to a search may be grounds for
            revocation of release. The defendant shall warn any other occupants that the premises may be subject to
            searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when
            reasonable suspicion exists that the defendant has violated a condition of his supervision and that the areas
            to be searched contain evidence of this violation.




   PAYMENT SCHEDULE:

            A lump sum payment of $200.00 is due immediately, and during the term of imprisonment, payment in
            equal monthly installments of $25.00 or 50% of the defendant's income, whichever is greater, to commence
            60 days after the date of this judgment; and payment in equal monthly installments of $25.00 during the
            term of supervised release, to commence 60 days after release from imprisonment.




   ADDITIONAL RULINGS:
         All remaining counts dismissed on Government Motion.
         Defendant advised of right to appeal.
         Defendant remanded to custody.


   Additional Information:
   Dft states that he remains fully satisfied with his counsel in this case.
